      Case 23-90342 Document 197 Filed in TXSB on 05/18/23 Page 1 of 14
                                                                                      United States Bankruptcy Court
                                                                                          Southern District of Texas

                                                                                             ENTERED
UNITED STATES BANKRUPTCY COURT                                SOUTHERN DISTRICT OFMay
                                                                                   TEXAS
                                                                                      16, 2023
                                                                                          Nathan Ochsner, Clerk

                 Motion and Order for Admission Pro Hac Vice

 Division             Houston               Main Case Number                   23-90342
                 Debtor                     In Re:      ENVISION HEALTHCARE CORPORATION,
                                                                       et al.



          Lawyer’s Name                Brian S. Hermann
                                       Paul, Weiss, Rifkind, Wharton & Garrison LLP
               Firm                    1285 Avenue of the Americas
               Street                  New York, New York 10019
         City & Zip Code               Telephone: (212) 373-3000
        Telephone & Email              bhermann@paulweiss.com
     Licensed: State & Number          New York: 2810232
      Federal Bar & Number


 Name of party applicant seeks to      funds and accounts managed by Kohlberg Kravis
 appear for:                           Roberts & Co. L.P.


                                                                                  ✔
 Has applicant been sanctioned by any bar association or court? Yes _______ No ________

 On a separate sheet for each sanction, please supply the full particulars.


            5/15/2023                                      /s/ Brian Hermann
 Dated:                      Signed:


 The state bar reports that the applicant’s status is: Currently registered


 Dated:
            05/16/2023
                             Clerk’s signature:   /s/ Z. Compean

             Order
                                               This lawyer is admitted pro hac vice.

Dated:
            August
            May     02, 2019
                16, 2023                              United States Bankruptcy Judge
                     Case 23-90342 Document 197 Filed in TXSB on 05/18/23 Page 2 of 14
                                                              United States Bankruptcy Court
                                                                Southern District of Texas
In re:                                                                                                                 Case No. 23-90342-cml
Envision Healthcare Corporation                                                                                        Chapter 11
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0541-4                                                  User: ADIuser                                                               Page 1 of 13
Date Rcvd: May 16, 2023                                               Form ID: pdf002                                                           Total Noticed: 26
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on May 18, 2023:
Recip ID                   Recipient Name and Address
db                     +   Envision Healthcare Corporation, 1A Burton Hills Boulevard, Nashville, TN 37215-6187
aty                    +   Angela K. Herring, Wachtell, Lipton, Rosen & Katz, 51 West 52nd St, New York, NY 10019-6150
aty                    +   Anne G. Wallice, Kirland & Ellis LLP, 601 Lexington Avenue, New York, NY 10022-4643
aty                    +   Anne I. Salomon, 300 North LaSalle St, Chicago, IL 60654, UNITED STATES 60654-3406
aty                    +   Annie Dreisbach, Kirkland & Ellis LLP, 300 North LaSalle St, Chicago, IL 60654, UNITED STATES 60654-5412
aty                    +   Brian Bolin, Paul, Weiss, Rifkind, Wharton & Garrison, 1285 Avenue of the Americas, New York, NY 10019-6031
aty                    +   C. Lee Wilson, 200 Park Avenue, New York, NY 10166-0005
aty                    +   Casey James McGushin, Kirkland & Ellis LLP, 300 N. LaSalle, Chicago, IL 60654-5412
aty                    +   David M. Feldman, Gibson Dunn & Crutcher, 200 Park Avenue, New York, NY 10166-4799
aty                    +   Eli J. Vonnegut, Davis Polk & Wardwell LLP, 450 Lexington Avenue, New York, NY 10017-3982
aty                    +   Gene S. Goldmintz, Davis Polk & Wardwell LLP, 450 Lexington Avenue, New York, NY 10017-3982
aty                        Gianfranco Finizio, Kilpatrick Townsend & Stockton LLP, 1114 Avenue of the Americas, NYC, NY 10036-7703
aty                    +   Jeffrey R. Goldfine, Kirkland & Ellis LLP, 601 Lexington Ave., New York, NY 10022, UNITED STATES 10022-4643
aty                    +   John R. Luze, Kirkland & Ellis LLP, 300 North LaSalle, Chicago, IL 60654-5412
aty                    +   John R. Sobolewski, Wachtell, Lipton, Rosen & Katz, 51 West 52nd Street, New York, NY 10019, UNITED STATES 10019-6150
aty                    +   Joshua A. Feltman, Wachtell, Lipton, Rosen & Katz, 51 West 52nd Street, New York, NY 10019-6150
aty                    +   Joshua A. Sussberg, Kirkland & Ellis LLP, 601 Lexington Avenue, New York, NY 10022-4643
aty                    +   Joshua Greenblatt, 601 Lexington Ave., New York, NY 10022, UNITED STATES 10022-4611
aty                    +   Margaret Reiney, Kirkland & Ellis LLP, 601 Lexington Ave., New York, NY 10022-4643
aty                        Mary Beth Maloney, 200 Park Avenue, New York, NY 10166-0005
aty                    +   Michael Pera, Davis Polk & Wardwell LLP, 450 Lexington Avenue, New York, NY 10017-3982
aty                    +   Ruth Mulvihill, Kirkland & Ellis LLP, 300 North LaSalle St, Chicago, IL 60654, UNITED STATES 60654-5412
aty                    +   William Arnault, Kirkland & Ellis LLP, 300 North LaSalle, Chicago, IL 60654-5412
cr                     +   AHS Staffing, c/o Liz George and Associates, Attn: Lysbeth L. George, 8101 S. Walker, Suite F, Oklahoma City, OK 73139-9406
cr                         Envision Ad Hoc Group, c/o Gibson, Dunn & Crutcher LLP, 200 Park Avenue, New York, NY 10166-0005

TOTAL: 25

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
op                     + Email/Text: EBN@primeclerk.com
                                                                                        May 16 2023 20:22:00      Kroll Restructuring Administration LLC, (f/k/a
                                                                                                                  Prime Clerk LLC), 55 East 52nd Street, 17th
                                                                                                                  Floor, New York, NY 10055-0002

TOTAL: 1


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID         Bypass Reason Name and Address
cr                             Ad Hoc Group of AmSurg Lenders
cr                             Ad Hoc Group of First Lien AmSurg Lenders
intp                           Ankura Trust Company, LLC, in its capacity as Envi
cr                             Citibank, N.A.
intp                           Credit Suisse AG, Cayman Islands Branch, as AmSurg
cr                             Funds and Accounts Managed by Kohlberg Kravis Robe
                    Case 23-90342 Document 197 Filed in TXSB on 05/18/23 Page 3 of 14
District/off: 0541-4                                               User: ADIuser                                                        Page 2 of 13
Date Rcvd: May 16, 2023                                            Form ID: pdf002                                                    Total Noticed: 26
intp                             Gary Begeman, as Independent Director
cr                               HCA-EMS Holdings, LLC
cr                               Thermo Fisher Scientific
cr                               Wilmington Savings Fund Society, FSB

TOTAL: 10 Undeliverable, 0 Duplicate, 0 Out of date forwarding address


                                                   NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: May 18, 2023                                        Signature:           /s/Gustava Winters




                                 CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on May 16, 2023 at the address(es) listed below:
Name                             Email Address
Aaron James Power
                                 on behalf of Interested Party Credit Suisse AG Cayman Islands Branch, as AmSurg RCF Agent apower@porterhedges.com,
                                 egarfias@porterhedges.com;ysanders@porterhedges.com

Beau Butler
                                 on behalf of Debtor Millennium Vision Surgical LLC bbutler@jw.com,
                                 kgradney@jw.com;dtrevino@jw.com;jpupo@jw.com;steso@jw.com

Beau Butler
                                 on behalf of Debtor Medi-Bill of North Florida Inc. bbutler@jw.com,
                                 kgradney@jw.com;dtrevino@jw.com;jpupo@jw.com;steso@jw.com

Beau Butler
                                 on behalf of Debtor Medical Information Management Solutions LLC bbutler@jw.com,
                                 kgradney@jw.com;dtrevino@jw.com;jpupo@jw.com;steso@jw.com

Beau Butler
                                 on behalf of Debtor New Generations Babee Bag Inc. bbutler@jw.com,
                                 kgradney@jw.com;dtrevino@jw.com;jpupo@jw.com;steso@jw.com

Beau Butler
                                 on behalf of Debtor Jupiter Healthcare LLC bbutler@jw.com,
                                 kgradney@jw.com;dtrevino@jw.com;jpupo@jw.com;steso@jw.com

Beau Butler
                                 on behalf of Debtor MSO Newco LLC bbutler@jw.com, kgradney@jw.com;dtrevino@jw.com;jpupo@jw.com;steso@jw.com

Beau Butler
                                 on behalf of Debtor Long Beach NSC LLC bbutler@jw.com,
                                 kgradney@jw.com;dtrevino@jw.com;jpupo@jw.com;steso@jw.com

Beau Butler
                                 on behalf of Debtor NAC Properties LLC bbutler@jw.com, kgradney@jw.com;dtrevino@jw.com;jpupo@jw.com;steso@jw.com

Beau Butler
                                 on behalf of Debtor North Florida Anesthesia Consultants Inc. bbutler@jw.com,
                                 kgradney@jw.com;dtrevino@jw.com;jpupo@jw.com;steso@jw.com

Beau Butler
                                 on behalf of Debtor KMAC Inc. bbutler@jw.com, kgradney@jw.com;dtrevino@jw.com;jpupo@jw.com;steso@jw.com

Beau Butler
                                 on behalf of Debtor Jupiter Anesthesia Associates L.L.C. bbutler@jw.com,
                                 kgradney@jw.com;dtrevino@jw.com;jpupo@jw.com;steso@jw.com

Beau Butler
                   Case 23-90342 Document 197 Filed in TXSB on 05/18/23 Page 4 of 14
District/off: 0541-4                                        User: ADIuser                                                         Page 3 of 13
Date Rcvd: May 16, 2023                                     Form ID: pdf002                                                     Total Noticed: 26
                          on behalf of Debtor North Florida Perinatal Associates Inc. bbutler@jw.com,
                          kgradney@jw.com;dtrevino@jw.com;jpupo@jw.com;steso@jw.com

Beau Butler
                          on behalf of Debtor Kenwood NSC LLC bbutler@jw.com, kgradney@jw.com;dtrevino@jw.com;jpupo@jw.com;steso@jw.com

Beau Butler
                          on behalf of Debtor MedAssociates LLC bbutler@jw.com, kgradney@jw.com;dtrevino@jw.com;jpupo@jw.com;steso@jw.com

Beverly Weiss Manne
                          on behalf of Creditor Thermo Fisher Scientific bmanne@tuckerlaw.com

Bruce J Ruzinsky
                          on behalf of Debtor AmSurg San Antonio TX Inc. bruzinsky@jw.com, msalinas@jw.com;kgradney@jw.com;dtrevino@jw.com

Bruce J Ruzinsky
                          on behalf of Debtor AmSurg Temecula CA Inc. bruzinsky@jw.com, msalinas@jw.com;kgradney@jw.com;dtrevino@jw.com

Bruce J Ruzinsky
                          on behalf of Debtor AmSurg Physicians HoldCo LLC bruzinsky@jw.com,
                          msalinas@jw.com;kgradney@jw.com;dtrevino@jw.com

Bruce J Ruzinsky
                          on behalf of Debtor AmSurg Ocala Inc. bruzinsky@jw.com, msalinas@jw.com;kgradney@jw.com;dtrevino@jw.com

Bruce J Ruzinsky
                          on behalf of Debtor AmSurg Northwest Florida Inc. bruzinsky@jw.com,
                          msalinas@jw.com;kgradney@jw.com;dtrevino@jw.com

Bruce J Ruzinsky
                          on behalf of Debtor AmSurg Palmetto Inc. bruzinsky@jw.com, msalinas@jw.com;kgradney@jw.com;dtrevino@jw.com

Bruce J Ruzinsky
                          on behalf of Debtor AmSurg Scranton PA Inc. bruzinsky@jw.com, msalinas@jw.com;kgradney@jw.com;dtrevino@jw.com

Bruce J Ruzinsky
                          on behalf of Debtor AmSurg Oakland CA Inc. bruzinsky@jw.com, msalinas@jw.com;kgradney@jw.com;dtrevino@jw.com

Bruce J Ruzinsky
                          on behalf of Debtor AmSurg New Port Richey FL Inc. bruzinsky@jw.com,
                          msalinas@jw.com;kgradney@jw.com;dtrevino@jw.com

Bruce J Ruzinsky
                          on behalf of Debtor AmSurg Physicians Arizona LLC bruzinsky@jw.com,
                          msalinas@jw.com;kgradney@jw.com;dtrevino@jw.com

Bruce J Ruzinsky
                          on behalf of Debtor AmSurg Pottsville PA LLC bruzinsky@jw.com, msalinas@jw.com;kgradney@jw.com;dtrevino@jw.com

Bruce J Ruzinsky
                          on behalf of Debtor AmSurg Naples Inc. bruzinsky@jw.com, msalinas@jw.com;kgradney@jw.com;dtrevino@jw.com

Bruce J Ruzinsky
                          on behalf of Debtor AmSurg Suncoast Inc. bruzinsky@jw.com, msalinas@jw.com;kgradney@jw.com;dtrevino@jw.com

Charles A Beckham, Jr
                          on behalf of Interested Party Gary Begeman as Independent Director charles.beckham@haynesboone.com,
                          kenneth.rusinko@haynesboone.com

Christopher R. Bankler
                          on behalf of Debtor Partners in Medical Billing Inc. cbankler@jw.com, kgradney@jw.com

Christopher R. Bankler
                          on behalf of Debtor Provider Account Management Inc. cbankler@jw.com, kgradney@jw.com

Christopher R. Bankler
                          on behalf of Debtor Practice Account Management Services LLC cbankler@jw.com, kgradney@jw.com

Christopher R. Bankler
                          on behalf of Debtor Physician Office Partners Inc. cbankler@jw.com, kgradney@jw.com

Christopher R. Bankler
                          on behalf of Debtor Phoenix Physicians LLC cbankler@jw.com, kgradney@jw.com

Christopher R. Bankler
                          on behalf of Debtor Northwood Anesthesia Associates L.L.C. cbankler@jw.com, kgradney@jw.com

Christopher R. Bankler
                          on behalf of Debtor NSC West Palm LLC cbankler@jw.com, kgradney@jw.com

Christopher R. Bankler
                          on behalf of Debtor NSC Healthcare Inc. cbankler@jw.com, kgradney@jw.com
                    Case 23-90342 Document 197 Filed in TXSB on 05/18/23 Page 5 of 14
District/off: 0541-4                                        User: ADIuser                                                         Page 4 of 13
Date Rcvd: May 16, 2023                                     Form ID: pdf002                                                     Total Noticed: 26
Christopher R. Bankler
                           on behalf of Debtor NSC RBO East LLC cbankler@jw.com, kgradney@jw.com

Christopher R. Bankler
                           on behalf of Debtor Pinnacle Consultants Mid-Atlantic L.L.C. cbankler@jw.com, kgradney@jw.com

Christopher R. Bankler
                           on behalf of Debtor Physician Account Management Inc. cbankler@jw.com, kgradney@jw.com

Christopher R. Bankler
                           on behalf of Debtor Proven Healthcare Solutions of New Jersey LLC cbankler@jw.com, kgradney@jw.com

Christopher R. Bankler
                           on behalf of Debtor Phoenix Business Systems LLC cbankler@jw.com, kgradney@jw.com

Christopher R. Bankler
                           on behalf of Debtor Parity Healthcare Inc. cbankler@jw.com, kgradney@jw.com

Christopher Ross Travis
                           on behalf of U.S. Trustee US Trustee C.Ross.Travis@usdoj.gov

Emil A. Kleinhaus
                           on behalf of Creditor Ad Hoc Group of First Lien AmSurg Lenders eakleinhaus@wlrk.com

Emily Meraia
                           on behalf of Debtor AmSurg Melbourne Inc. emeraia@jw.com,
                           kgradney@jw.com;dtrevino@jw.com;jpupo@jw.com;steso@jw.com

Emily Meraia
                           on behalf of Debtor AmSurg Miami Inc. emeraia@jw.com, kgradney@jw.com;dtrevino@jw.com;jpupo@jw.com;steso@jw.com

Emily Meraia
                           on behalf of Debtor AmSurg Maryville Inc. emeraia@jw.com,
                           kgradney@jw.com;dtrevino@jw.com;jpupo@jw.com;steso@jw.com

Emily Meraia
                           on behalf of Debtor AmSurg La Jolla Inc. emeraia@jw.com,
                           kgradney@jw.com;dtrevino@jw.com;jpupo@jw.com;steso@jw.com

Emily Meraia
                           on behalf of Debtor AmSurg Glendale Inc. emeraia@jw.com,
                           kgradney@jw.com;dtrevino@jw.com;jpupo@jw.com;steso@jw.com

Emily Meraia
                           on behalf of Debtor AmSurg Holdings LLC emeraia@jw.com,
                           kgradney@jw.com;dtrevino@jw.com;jpupo@jw.com;steso@jw.com

Emily Meraia
                           on behalf of Debtor AmSurg Glendora CA Inc. emeraia@jw.com,
                           kgradney@jw.com;dtrevino@jw.com;jpupo@jw.com;steso@jw.com

Emily Meraia
                           on behalf of Debtor AmSurg Kissimmee FL Inc. emeraia@jw.com,
                           kgradney@jw.com;dtrevino@jw.com;jpupo@jw.com;steso@jw.com

Emily Meraia
                           on behalf of Debtor AmSurg KEC Inc. emeraia@jw.com, kgradney@jw.com;dtrevino@jw.com;jpupo@jw.com;steso@jw.com

Emily Meraia
                           on behalf of Debtor AmSurg Holdco LLC emeraia@jw.com,
                           kgradney@jw.com;dtrevino@jw.com;jpupo@jw.com;steso@jw.com

Emily Meraia
                           on behalf of Debtor AmSurg Lancaster PA LLC emeraia@jw.com,
                           kgradney@jw.com;dtrevino@jw.com;jpupo@jw.com;steso@jw.com

Emily Meraia
                           on behalf of Debtor AmSurg Hillmont Inc. emeraia@jw.com,
                           kgradney@jw.com;dtrevino@jw.com;jpupo@jw.com;steso@jw.com

Emily Meraia
                           on behalf of Debtor AmSurg Inglewood Inc. emeraia@jw.com,
                           kgradney@jw.com;dtrevino@jw.com;jpupo@jw.com;steso@jw.com

Emily Meraia
                           on behalf of Debtor AmSurg Main Line PA LLC emeraia@jw.com,
                           kgradney@jw.com;dtrevino@jw.com;jpupo@jw.com;steso@jw.com

Genevieve Marie Graham
                           on behalf of Debtor CMORx LLC ggraham@jw.com,
                           dtrevino@jw.com;kgradney@jw.com;jpupo@jw.com;JacksonWalkerLLP@jubileebk.net;steso@jw.com

Genevieve Marie Graham
                 Case 23-90342 Document 197 Filed in TXSB on 05/18/23 Page 6 of 14
District/off: 0541-4                                       User: ADIuser                                                         Page 5 of 13
Date Rcvd: May 16, 2023                                    Form ID: pdf002                                                     Total Noticed: 26
                          on behalf of Debtor Discovery Clinical Research Inc. ggraham@jw.com,
                          dtrevino@jw.com;kgradney@jw.com;jpupo@jw.com;JacksonWalkerLLP@jubileebk.net;steso@jw.com

Genevieve Marie Graham
                          on behalf of Debtor Coastal Anesthesiology Consultants LLC ggraham@jw.com,
                          dtrevino@jw.com;kgradney@jw.com;jpupo@jw.com;JacksonWalkerLLP@jubileebk.net;steso@jw.com

Genevieve Marie Graham
                          on behalf of Debtor Clinical Partners Management Company LLC ggraham@jw.com,
                          dtrevino@jw.com;kgradney@jw.com;jpupo@jw.com;JacksonWalkerLLP@jubileebk.net;steso@jw.com

Genevieve Marie Graham
                          on behalf of Debtor Doctors Billing Service Inc. ggraham@jw.com,
                          dtrevino@jw.com;kgradney@jw.com;jpupo@jw.com;JacksonWalkerLLP@jubileebk.net;steso@jw.com

Genevieve Marie Graham
                          on behalf of Debtor Children's Anesthesia Associates Inc. ggraham@jw.com,
                          dtrevino@jw.com;kgradney@jw.com;jpupo@jw.com;JacksonWalkerLLP@jubileebk.net;steso@jw.com

Genevieve Marie Graham
                          on behalf of Debtor Davis NSC LLC ggraham@jw.com,
                          dtrevino@jw.com;kgradney@jw.com;jpupo@jw.com;JacksonWalkerLLP@jubileebk.net;steso@jw.com

Genevieve Marie Graham
                          on behalf of Debtor Coral Springs NSC LLC ggraham@jw.com,
                          dtrevino@jw.com;kgradney@jw.com;jpupo@jw.com;JacksonWalkerLLP@jubileebk.net;steso@jw.com

Genevieve Marie Graham
                          on behalf of Debtor Centennial Emergency Physicians LLC ggraham@jw.com,
                          dtrevino@jw.com;kgradney@jw.com;jpupo@jw.com;JacksonWalkerLLP@jubileebk.net;steso@jw.com

Genevieve Marie Graham
                          on behalf of Debtor Boca Anesthesia Service Inc. ggraham@jw.com,
                          dtrevino@jw.com;kgradney@jw.com;jpupo@jw.com;JacksonWalkerLLP@jubileebk.net;steso@jw.com

Genevieve Marie Graham
                          on behalf of Debtor Bravo Reimbursement Specialist L.L.C. ggraham@jw.com,
                          dtrevino@jw.com;kgradney@jw.com;jpupo@jw.com;JacksonWalkerLLP@jubileebk.net;steso@jw.com

Genevieve Marie Graham
                          on behalf of Debtor Chandler Emergency Medical Group L.L.C. ggraham@jw.com,
                          dtrevino@jw.com;kgradney@jw.com;jpupo@jw.com;JacksonWalkerLLP@jubileebk.net;steso@jw.com

Genevieve Marie Graham
                          on behalf of Debtor Broad Midwest Anesthesia LLC ggraham@jw.com,
                          dtrevino@jw.com;kgradney@jw.com;jpupo@jw.com;JacksonWalkerLLP@jubileebk.net;steso@jw.com

Genevieve Marie Graham
                          on behalf of Debtor Desert Mountain Consultants in Anesthesia Inc. ggraham@jw.com,
                          dtrevino@jw.com;kgradney@jw.com;jpupo@jw.com;JacksonWalkerLLP@jubileebk.net;steso@jw.com

Ha Minh Nguyen
                          on behalf of U.S. Trustee US Trustee ha.nguyen@usdoj.gov

J Scott Rose
                          on behalf of Debtor Sheridan Children's Healthcare Services of Kentucky Inc. srose@jw.com, kgradney@jw.com

J Scott Rose
                          on behalf of Debtor QRx Medical Management LLC srose@jw.com, kgradney@jw.com

J Scott Rose
                          on behalf of Debtor Sheridan Children's Healthcare Services of Louisiana Inc. srose@jw.com, kgradney@jw.com

J Scott Rose
                          on behalf of Debtor San Antonio NSC LLC srose@jw.com, kgradney@jw.com

J Scott Rose
                          on behalf of Debtor Sheridan Anesthesia Services of Virginia Inc. srose@jw.com, kgradney@jw.com

J Scott Rose
                          on behalf of Debtor Rose Radiology LLC srose@jw.com, kgradney@jw.com

J Scott Rose
                          on behalf of Debtor Sheridan Anesthesia Services of Alabama Inc. srose@jw.com, kgradney@jw.com

J Scott Rose
                          on behalf of Debtor Sheridan CADR Solutions Inc. srose@jw.com, kgradney@jw.com

J Scott Rose
                          on behalf of Debtor Sheridan Children's Healthcare Services of Arizona Inc. srose@jw.com, kgradney@jw.com

J Scott Rose
                          on behalf of Debtor Reimbursement Technologies Inc. srose@jw.com, kgradney@jw.com
                      Case 23-90342 Document 197 Filed in TXSB on 05/18/23 Page 7 of 14
District/off: 0541-4                                          User: ADIuser                                                       Page 6 of 13
Date Rcvd: May 16, 2023                                       Form ID: pdf002                                                   Total Noticed: 26
J Scott Rose
                             on behalf of Debtor Radstaffing Management Solutions Inc. srose@jw.com, kgradney@jw.com

J Scott Rose
                             on behalf of Debtor Sheridan Anesthesia Services of Louisiana Inc. srose@jw.com, kgradney@jw.com

J Scott Rose
                             on behalf of Debtor Sentinel Healthcare Services LLC srose@jw.com, kgradney@jw.com

J Scott Rose
                             on behalf of Debtor Radiology Staffing Solutions Inc. srose@jw.com, kgradney@jw.com

Javier Gonzalez, Jr
                             on behalf of Debtor AmSurg EC Topeka Inc. jgonzalez@jw.com,
                             kgradney@jw.com;dtrevino@jw.com;jpupo@jw.com;steso@jw.com

Javier Gonzalez, Jr
                             on behalf of Debtor AmSurg Arcadia CA Inc. jgonzalez@jw.com,
                             kgradney@jw.com;dtrevino@jw.com;jpupo@jw.com;steso@jw.com

Javier Gonzalez, Jr
                             on behalf of Debtor Wilton NSC LLC jgonzalez@jw.com, kgradney@jw.com;dtrevino@jw.com;jpupo@jw.com;steso@jw.com

Javier Gonzalez, Jr
                             on behalf of Debtor West Fairview Emergency Physicians LLC jgonzalez@jw.com,
                             kgradney@jw.com;dtrevino@jw.com;jpupo@jw.com;steso@jw.com

Javier Gonzalez, Jr
                             on behalf of Debtor AmSurg EC Centennial Inc. jgonzalez@jw.com,
                             kgradney@jw.com;dtrevino@jw.com;jpupo@jw.com;steso@jw.com

Javier Gonzalez, Jr
                             on behalf of Debtor Valley Clinical Research Inc. jgonzalez@jw.com,
                             kgradney@jw.com;dtrevino@jw.com;jpupo@jw.com;steso@jw.com

Javier Gonzalez, Jr
                             on behalf of Debtor Envision Healthcare Corporation jgonzalez@jw.com
                             kgradney@jw.com;dtrevino@jw.com;jpupo@jw.com;steso@jw.com

Javier Gonzalez, Jr
                             on behalf of Debtor AmSurg Escondido CA Inc. jgonzalez@jw.com,
                             kgradney@jw.com;dtrevino@jw.com;jpupo@jw.com;steso@jw.com

Javier Gonzalez, Jr
                             on behalf of Debtor AmSurg Finance Inc. jgonzalez@jw.com,
                             kgradney@jw.com;dtrevino@jw.com;jpupo@jw.com;steso@jw.com

Javier Gonzalez, Jr
                             on behalf of Debtor AmSurg Burbank Inc. jgonzalez@jw.com,
                             kgradney@jw.com;dtrevino@jw.com;jpupo@jw.com;steso@jw.com

Javier Gonzalez, Jr
                             on behalf of Debtor AmSurg EC Santa Fe Inc. jgonzalez@jw.com,
                             kgradney@jw.com;dtrevino@jw.com;jpupo@jw.com;steso@jw.com

Javier Gonzalez, Jr
                             on behalf of Debtor AmSurg Colton CA Inc. jgonzalez@jw.com,
                             kgradney@jw.com;dtrevino@jw.com;jpupo@jw.com;steso@jw.com

Javier Gonzalez, Jr
                             on behalf of Debtor AmSurg EC Washington Inc. jgonzalez@jw.com,
                             kgradney@jw.com;dtrevino@jw.com;jpupo@jw.com;steso@jw.com

Javier Gonzalez, Jr
                             on behalf of Debtor AmSurg Crystal River Inc. jgonzalez@jw.com,
                             kgradney@jw.com;dtrevino@jw.com;jpupo@jw.com;steso@jw.com

Javier Gonzalez, Jr
                             on behalf of Debtor AmSurg EC St. Thomas Inc. jgonzalez@jw.com,
                             kgradney@jw.com;dtrevino@jw.com;jpupo@jw.com;steso@jw.com

Javier Gonzalez, Jr
                             on behalf of Debtor AmSurg EC Beaumont Inc. jgonzalez@jw.com,
                             kgradney@jw.com;dtrevino@jw.com;jpupo@jw.com;steso@jw.com

Javier Gonzalez, Jr
                             on behalf of Debtor Weston NSC LLC jgonzalez@jw.com, kgradney@jw.com;dtrevino@jw.com;jpupo@jw.com;steso@jw.com

Javier Gonzalez, Jr
                             on behalf of Debtor AmSurg Fresno Endoscopy Inc. jgonzalez@jw.com,
                             kgradney@jw.com;dtrevino@jw.com;jpupo@jw.com;steso@jw.com

Javier Gonzalez, Jr
                     Case 23-90342 Document 197 Filed in TXSB on 05/18/23 Page 8 of 14
District/off: 0541-4                                        User: ADIuser                                                         Page 7 of 13
Date Rcvd: May 16, 2023                                     Form ID: pdf002                                                     Total Noticed: 26
                            on behalf of Debtor AmSurg El Paso Inc. jgonzalez@jw.com,
                            kgradney@jw.com;dtrevino@jw.com;jpupo@jw.com;steso@jw.com

Jennifer F Wertz
                            on behalf of Debtor Sheridan ROP Services of Florida Inc. jwertz@jw.com,
                            kgradney@jw.com;jpupo@jw.com;JacksonWalkerLLP@jubileebk.net;steso@jw.com

Jennifer F Wertz
                            on behalf of Debtor Sheridan Healthcare LLC jwertz@jw.com,
                            kgradney@jw.com;jpupo@jw.com;JacksonWalkerLLP@jubileebk.net;steso@jw.com

Jennifer F Wertz
                            on behalf of Debtor Sheridan Healthcorp Inc. jwertz@jw.com,
                            kgradney@jw.com;jpupo@jw.com;JacksonWalkerLLP@jubileebk.net;steso@jw.com

Jennifer F Wertz
                            on behalf of Debtor Sheridan Radiology Services Inc. jwertz@jw.com,
                            kgradney@jw.com;jpupo@jw.com;JacksonWalkerLLP@jubileebk.net;steso@jw.com

Jennifer F Wertz
                            on behalf of Debtor Sheridan Hospitalist Services of Florida Inc. jwertz@jw.com,
                            kgradney@jw.com;jpupo@jw.com;JacksonWalkerLLP@jubileebk.net;steso@jw.com

Jennifer F Wertz
                            on behalf of Debtor Sheridan Healthy Hearing Services Inc. jwertz@jw.com,
                            kgradney@jw.com;jpupo@jw.com;JacksonWalkerLLP@jubileebk.net;steso@jw.com

Jennifer F Wertz
                            on behalf of Debtor Sheridan Holdings Inc. jwertz@jw.com,
                            kgradney@jw.com;jpupo@jw.com;JacksonWalkerLLP@jubileebk.net;steso@jw.com

Jennifer F Wertz
                            on behalf of Debtor Sheridan Healthcorp of California Inc. jwertz@jw.com,
                            kgradney@jw.com;jpupo@jw.com;JacksonWalkerLLP@jubileebk.net;steso@jw.com

Jennifer F Wertz
                            on behalf of Debtor Sheridan ROP Services of Virginia Inc. jwertz@jw.com,
                            kgradney@jw.com;jpupo@jw.com;JacksonWalkerLLP@jubileebk.net;steso@jw.com

Jennifer F Wertz
                            on behalf of Debtor SHI II LLC jwertz@jw.com,
                            kgradney@jw.com;jpupo@jw.com;JacksonWalkerLLP@jubileebk.net;steso@jw.com

Jennifer F Wertz
                            on behalf of Debtor Sheridan InvestCo LLC jwertz@jw.com,
                            kgradney@jw.com;jpupo@jw.com;JacksonWalkerLLP@jubileebk.net;steso@jw.com

Jennifer F Wertz
                            on behalf of Debtor Sheridan Radiology Management Services Inc. jwertz@jw.com,
                            kgradney@jw.com;jpupo@jw.com;JacksonWalkerLLP@jubileebk.net;steso@jw.com

Jennifer F Wertz
                            on behalf of Debtor Sheridan ROP Services of Alabama Inc. jwertz@jw.com,
                            kgradney@jw.com;jpupo@jw.com;JacksonWalkerLLP@jubileebk.net;steso@jw.com

Jennifer F Wertz
                            on behalf of Debtor Sheridan Leadership Academy Inc. jwertz@jw.com,
                            kgradney@jw.com;jpupo@jw.com;JacksonWalkerLLP@jubileebk.net;steso@jw.com

John David Cornwell
                            on behalf of Creditor Envision Ad Hoc Group jcornwell@munsch.com hvalentine@munsch.com;CourtMail@munsch.com

John F Higgins, IV
                            on behalf of Interested Party Credit Suisse AG Cayman Islands Branch, as AmSurg RCF Agent jhiggins@porterhedges.com,
                            emoreland@porterhedges.com;eliana-garfias-8561@ecf.pacerpro.com;mwebb@porterhedges.com

John Machir Stull
                            on behalf of Debtor Jacksonville Beaches Anesthesia Associates Inc. mstull@jw.com,
                            kgradney@jw.com;JacksonWalkerLLP@jubileebk.net;dtrevino@jw.com;azuniga@jw.com;steso@jw.com;jpupo@jw.com

John Machir Stull
                            on behalf of Debtor Healthcare Administrative Services Inc. mstull@jw.com,
                            kgradney@jw.com;JacksonWalkerLLP@jubileebk.net;dtrevino@jw.com;azuniga@jw.com;steso@jw.com;jpupo@jw.com

John Machir Stull
                            on behalf of Debtor Greater Florida Anesthesiologists LLC mstull@jw.com,
                            kgradney@jw.com;JacksonWalkerLLP@jubileebk.net;dtrevino@jw.com;azuniga@jw.com;steso@jw.com;jpupo@jw.com

John Machir Stull
                            on behalf of Debtor FO Investments Inc. mstull@jw.com,
                            kgradney@jw.com;JacksonWalkerLLP@jubileebk.net;dtrevino@jw.com;azuniga@jw.com;steso@jw.com;jpupo@jw.com

John Machir Stull
                    Case 23-90342 Document 197 Filed in TXSB on 05/18/23 Page 9 of 14
District/off: 0541-4                                       User: ADIuser                                                      Page 8 of 13
Date Rcvd: May 16, 2023                                    Form ID: pdf002                                                  Total Noticed: 26
                           on behalf of Debtor Holiday Acquisition Company Inc. mstull@jw.com,
                           kgradney@jw.com;JacksonWalkerLLP@jubileebk.net;dtrevino@jw.com;azuniga@jw.com;steso@jw.com;jpupo@jw.com

John Machir Stull
                           on behalf of Debtor Imaging Advantage LLC mstull@jw.com
                           kgradney@jw.com;JacksonWalkerLLP@jubileebk.net;dtrevino@jw.com;azuniga@jw.com;steso@jw.com;jpupo@jw.com

John Machir Stull
                           on behalf of Debtor Infinity Healthcare Inc. mstull@jw.com,
                           kgradney@jw.com;JacksonWalkerLLP@jubileebk.net;dtrevino@jw.com;azuniga@jw.com;steso@jw.com;jpupo@jw.com

John Machir Stull
                           on behalf of Debtor Hawkeye Holdco LLC mstull@jw.com
                           kgradney@jw.com;JacksonWalkerLLP@jubileebk.net;dtrevino@jw.com;azuniga@jw.com;steso@jw.com;jpupo@jw.com

John Machir Stull
                           on behalf of Debtor Global Surgical Partners Inc. mstull@jw.com,
                           kgradney@jw.com;JacksonWalkerLLP@jubileebk.net;dtrevino@jw.com;azuniga@jw.com;steso@jw.com;jpupo@jw.com

John Machir Stull
                           on behalf of Debtor Illinois NSC Inc. mstull@jw.com,
                           kgradney@jw.com;JacksonWalkerLLP@jubileebk.net;dtrevino@jw.com;azuniga@jw.com;steso@jw.com;jpupo@jw.com

John Machir Stull
                           on behalf of Debtor Fullerton NSC LLC mstull@jw.com,
                           kgradney@jw.com;JacksonWalkerLLP@jubileebk.net;dtrevino@jw.com;azuniga@jw.com;steso@jw.com;jpupo@jw.com

John Machir Stull
                           on behalf of Debtor Gynecologic Oncology Associates Inc. mstull@jw.com,
                           kgradney@jw.com;JacksonWalkerLLP@jubileebk.net;dtrevino@jw.com;azuniga@jw.com;steso@jw.com;jpupo@jw.com

John Machir Stull
                           on behalf of Debtor FO Investments III Inc. mstull@jw.com,
                           kgradney@jw.com;JacksonWalkerLLP@jubileebk.net;dtrevino@jw.com;azuniga@jw.com;steso@jw.com;jpupo@jw.com

John Machir Stull
                           on behalf of Debtor ISelect Healthcare LLC mstull@jw.com
                           kgradney@jw.com;JacksonWalkerLLP@jubileebk.net;dtrevino@jw.com;azuniga@jw.com;steso@jw.com;jpupo@jw.com

John R Ashmead
                           on behalf of Creditor Wilmington Savings Fund Society FSB ashmead@sewkis.com, managingclerkoffice@sewkis.com

Keith Richard Martorana
                           on behalf of Creditor Envision Ad Hoc Group kmartorana@gibsondunn.com

Kristhy M Peguero
                           on behalf of Debtor EmCare Physician Providers Inc. kpeguero@jw.com,
                           kgradney@jw.com;dtrevino@jw.com;jpupo@jw.com;JacksonWalkerLLP@jubileebk.net;steso@jw.com

Kristhy M Peguero
                           on behalf of Debtor Emergency Medical Services LLC kpeguero@jw.com
                           kgradney@jw.com;dtrevino@jw.com;jpupo@jw.com;JacksonWalkerLLP@jubileebk.net;steso@jw.com

Kristhy M Peguero
                           on behalf of Debtor EmCare Physician Services Inc. kpeguero@jw.com,
                           kgradney@jw.com;dtrevino@jw.com;jpupo@jw.com;JacksonWalkerLLP@jubileebk.net;steso@jw.com

Kristhy M Peguero
                           on behalf of Debtor EmCare Holdings LLC kpeguero@jw.com,
                           kgradney@jw.com;dtrevino@jw.com;jpupo@jw.com;JacksonWalkerLLP@jubileebk.net;steso@jw.com

Kristhy M Peguero
                           on behalf of Debtor EDIMS L.L.C. kpeguero@jw.com,
                           kgradney@jw.com;dtrevino@jw.com;jpupo@jw.com;JacksonWalkerLLP@jubileebk.net;steso@jw.com

Kristhy M Peguero
                           on behalf of Debtor Drs. Ellis Rojas, Ross & Debs, Inc. kpeguero@jw.com,
                           kgradney@jw.com;dtrevino@jw.com;jpupo@jw.com;JacksonWalkerLLP@jubileebk.net;steso@jw.com

Kristhy M Peguero
                           on behalf of Debtor Emergency Medicine Education Systems Inc. kpeguero@jw.com,
                           kgradney@jw.com;dtrevino@jw.com;jpupo@jw.com;JacksonWalkerLLP@jubileebk.net;steso@jw.com

Kristhy M Peguero
                           on behalf of Debtor EmCare Holdco LLC kpeguero@jw.com,
                           kgradney@jw.com;dtrevino@jw.com;jpupo@jw.com;JacksonWalkerLLP@jubileebk.net;steso@jw.com

Kristhy M Peguero
                           on behalf of Debtor EmCare of California Inc. kpeguero@jw.com,
                           kgradney@jw.com;dtrevino@jw.com;jpupo@jw.com;JacksonWalkerLLP@jubileebk.net;steso@jw.com

Kristhy M Peguero
                           on behalf of Debtor EmCare Anesthesia Providers Inc. kpeguero@jw.com,
                     Case 23-90342 Document 197 Filed in TXSB on 05/18/23 Page 10 of 14
District/off: 0541-4                                        User: ADIuser                                                 Page 9 of 13
Date Rcvd: May 16, 2023                                     Form ID: pdf002                                             Total Noticed: 26
                             kgradney@jw.com;dtrevino@jw.com;jpupo@jw.com;JacksonWalkerLLP@jubileebk.net;steso@jw.com

Kristhy M Peguero
                             on behalf of Debtor EMS Management LLC kpeguero@jw.com
                             kgradney@jw.com;dtrevino@jw.com;jpupo@jw.com;JacksonWalkerLLP@jubileebk.net;steso@jw.com

Kristhy M Peguero
                             on behalf of Debtor EmCare LLC kpeguero@jw.com,
                             kgradney@jw.com;dtrevino@jw.com;jpupo@jw.com;JacksonWalkerLLP@jubileebk.net;steso@jw.com

Kristhy M Peguero
                             on behalf of Debtor EHR Management Co. kpeguero@jw.com
                             kgradney@jw.com;dtrevino@jw.com;jpupo@jw.com;JacksonWalkerLLP@jubileebk.net;steso@jw.com

Kristhy M Peguero
                             on behalf of Debtor ED Solutions LLC kpeguero@jw.com,
                             kgradney@jw.com;dtrevino@jw.com;jpupo@jw.com;JacksonWalkerLLP@jubileebk.net;steso@jw.com

Lysbeth Lou George
                             on behalf of Creditor AHS Staffing liz@georgelawok.com karen@georgelawok.com

Mark Curtis Taylor
                             on behalf of Creditor HCA-EMS Holdings LLC mark.taylor@hklaw.com,
                             tammy.greenblum@wallerlaw.com;annmarie.jezisek@wallerlaw.com

Matthew D Cavenaugh
                             on behalf of Debtor All Women's Healthcare of Dade Inc. mcavenaugh@jw.com,
                             kgradney@jw.com;dtrevino@jw.com;jpupo@jw.com;JacksonWalkerLLP@jubileebk.net;steso@jw.com

Matthew D Cavenaugh
                             on behalf of Debtor All Women's Healthcare Inc. mcavenaugh@jw.com,
                             kgradney@jw.com;dtrevino@jw.com;jpupo@jw.com;JacksonWalkerLLP@jubileebk.net;steso@jw.com

Matthew D Cavenaugh
                             on behalf of Debtor Alpha Physician Resources L.L.C. mcavenaugh@jw.com,
                             kgradney@jw.com;dtrevino@jw.com;jpupo@jw.com;JacksonWalkerLLP@jubileebk.net;steso@jw.com

Matthew D Cavenaugh
                             on behalf of Debtor Affilion Inc. mcavenaugh@jw.com,
                             kgradney@jw.com;dtrevino@jw.com;jpupo@jw.com;JacksonWalkerLLP@jubileebk.net;steso@jw.com

Matthew D Cavenaugh
                             on behalf of Debtor All Women's Healthcare Services Inc. mcavenaugh@jw.com,
                             kgradney@jw.com;dtrevino@jw.com;jpupo@jw.com;JacksonWalkerLLP@jubileebk.net;steso@jw.com

Matthew D Cavenaugh
                             on behalf of Debtor All Women's Healthcare of West Broward Inc. mcavenaugh@jw.com,
                             kgradney@jw.com;dtrevino@jw.com;jpupo@jw.com;JacksonWalkerLLP@jubileebk.net;steso@jw.com

Matthew D Cavenaugh
                             on behalf of Debtor AllegiantMD Inc. mcavenaugh@jw.com,
                             kgradney@jw.com;dtrevino@jw.com;jpupo@jw.com;JacksonWalkerLLP@jubileebk.net;steso@jw.com

Matthew D Cavenaugh
                             on behalf of Debtor AmSurg Anesthesia Management Services LLC mcavenaugh@jw.com,
                             kgradney@jw.com;dtrevino@jw.com;jpupo@jw.com;JacksonWalkerLLP@jubileebk.net;steso@jw.com

Matthew D Cavenaugh
                             on behalf of Debtor All Women's Healthcare of Sawgrass Inc. mcavenaugh@jw.com,
                             kgradney@jw.com;dtrevino@jw.com;jpupo@jw.com;JacksonWalkerLLP@jubileebk.net;steso@jw.com

Matthew D Cavenaugh
                             on behalf of Debtor All Women's Healthcare Holdings Inc. mcavenaugh@jw.com,
                             kgradney@jw.com;dtrevino@jw.com;jpupo@jw.com;JacksonWalkerLLP@jubileebk.net;steso@jw.com

Matthew D Cavenaugh
                             on behalf of Debtor AmSurg Abilene Eye Inc. mcavenaugh@jw.com,
                             kgradney@jw.com;dtrevino@jw.com;jpupo@jw.com;JacksonWalkerLLP@jubileebk.net;steso@jw.com

Matthew D Cavenaugh
                             on behalf of Debtor American Emergency Physicians Management Inc. mcavenaugh@jw.com,
                             kgradney@jw.com;dtrevino@jw.com;jpupo@jw.com;JacksonWalkerLLP@jubileebk.net;steso@jw.com

Matthew D Cavenaugh
                             on behalf of Debtor AmSurg Abilene Inc. mcavenaugh@jw.com,
                             kgradney@jw.com;dtrevino@jw.com;jpupo@jw.com;JacksonWalkerLLP@jubileebk.net;steso@jw.com

Matthew D Cavenaugh
                             on behalf of Debtor AmSurg Altamonte Springs FL Inc. mcavenaugh@jw.com,
                             kgradney@jw.com;dtrevino@jw.com;jpupo@jw.com;JacksonWalkerLLP@jubileebk.net;steso@jw.com

Michael A. Garza
                             on behalf of Creditor Ad Hoc Group of First Lien AmSurg Lenders mgarza@velaw.com
                    Case 23-90342 Document 197 Filed in TXSB on 05/18/23 Page 11 of 14
District/off: 0541-4                                          User: ADIuser                                                           Page 10 of 13
Date Rcvd: May 16, 2023                                       Form ID: pdf002                                                        Total Noticed: 26
Michael Anthony Drab
                             on behalf of Debtor Sheridan Healthcare of Missouri Inc. mdrab@jw.com, kgradney@jw.com

Michael Anthony Drab
                             on behalf of Debtor Sheridan Children's Healthcare Services of New Mexico Inc. mdrab@jw.com, kgradney@jw.com

Michael Anthony Drab
                             on behalf of Debtor Sheridan Healthcare of Vermont Inc. mdrab@jw.com, kgradney@jw.com

Michael Anthony Drab
                             on behalf of Debtor Sheridan Healthcare of Louisiana Inc. mdrab@jw.com, kgradney@jw.com

Michael Anthony Drab
                             on behalf of Debtor Sheridan Emergency Physician Services of North Missouri Inc. mdrab@jw.com, kgradney@jw.com

Michael Anthony Drab
                             on behalf of Debtor Sheridan Children's Healthcare Services of Ohio Inc. mdrab@jw.com, kgradney@jw.com

Michael Anthony Drab
                             on behalf of Debtor Sheridan Healthcare of Virginia Inc. mdrab@jw.com, kgradney@jw.com

Michael Anthony Drab
                             on behalf of Debtor Sheridan Emergency Physician Services of Missouri Inc. mdrab@jw.com, kgradney@jw.com

Michael Anthony Drab
                             on behalf of Debtor Sheridan Children's Healthcare Services Inc. mdrab@jw.com, kgradney@jw.com

Michael Anthony Drab
                             on behalf of Debtor Sheridan Children's Healthcare Services of Virginia Inc. mdrab@jw.com, kgradney@jw.com

Michael Anthony Drab
                             on behalf of Debtor Sheridan Children's Services of Alabama Inc. mdrab@jw.com, kgradney@jw.com

Michael Anthony Drab
                             on behalf of Debtor Sheridan Healthcare of West Virginia Inc. mdrab@jw.com, kgradney@jw.com

Michael Anthony Drab
                             on behalf of Debtor Sheridan Emergency Physician Services of South Florida Inc. mdrab@jw.com, kgradney@jw.com

Michael Anthony Drab
                             on behalf of Debtor Sheridan Emergency Physician Services Inc. mdrab@jw.com, kgradney@jw.com

Nicole Greenblatt
                             on behalf of Debtor Envision Healthcare Corporation ngreenblatt@kirkland.com

Paul E Heath
                             on behalf of Creditor Ad Hoc Group of First Lien AmSurg Lenders pheath@velaw.com

Philip M. Guffy
                             on behalf of Creditor Citibank N.A. pguffy@huntonak.com

Rebecca Blake Chaikin
                             on behalf of Debtor AmSurg LLC rchaikin@jw.com, kgradney@jw.com;dtrevino@jw.com;jpupo@jw.com;steso@jw.com

Rebecca Blake Chaikin
                             on behalf of Debtor Acute Management LLC rchaikin@jw.com,
                             kgradney@jw.com;dtrevino@jw.com;jpupo@jw.com;steso@jw.com

Rebecca Blake Chaikin
                             on behalf of Debtor Envision Healthcare Corporation rchaikin@jw.com
                             kgradney@jw.com;dtrevino@jw.com;jpupo@jw.com;steso@jw.com

Robert Bernard Bruner
                             on behalf of Creditor Funds and Accounts Managed by Kohlberg Kravis Roberts & Co. L.P. bob.bruner@nortonrosefulbright.com


Timothy Alvin Davidson, II
                             on behalf of Creditor Citibank N.A. taddavidson@andrewskurth.com

Todd C Meyers
                             on behalf of Interested Party Ankura Trust Company LLC, in its capacity as Envision Term Loan Facility Agent
                             tmeyers@kilpatricktownsend.com,
                             kmoynihan@kilpatricktownsend.com;gfinizio@kilpatricktownsend.com;jborey@kilpatricktownsend.com

US Trustee
                             USTPRegion07.HU.ECF@USDOJ.GOV

Veronica Ann Polnick
                             on behalf of Debtor FM Healthcare Services Inc. vpolnick@jw.com,
                             kgradney@jw.com;dtrevino@jw.com;jpupo@jw.com;JacksonWalkerLLP@jubileebk.net;steso@jw.com

Veronica Ann Polnick
                             on behalf of Debtor Evolution Mobile Imaging LLC vpolnick@jw.com,
                   Case 23-90342 Document 197 Filed in TXSB on 05/18/23 Page 12 of 14
District/off: 0541-4                                          User: ADIuser                                                            Page 11 of 13
Date Rcvd: May 16, 2023                                       Form ID: pdf002                                                         Total Noticed: 26
                             kgradney@jw.com;dtrevino@jw.com;jpupo@jw.com;JacksonWalkerLLP@jubileebk.net;steso@jw.com

Veronica Ann Polnick
                             on behalf of Debtor Envision Physician Services LLC vpolnick@jw.com,
                             kgradney@jw.com;dtrevino@jw.com;jpupo@jw.com;JacksonWalkerLLP@jubileebk.net;steso@jw.com

Veronica Ann Polnick
                             on behalf of Debtor Enterprise Parent Holdings Inc. vpolnick@jw.com,
                             kgradney@jw.com;dtrevino@jw.com;jpupo@jw.com;JacksonWalkerLLP@jubileebk.net;steso@jw.com

Veronica Ann Polnick
                             on behalf of Debtor Envision Anesthesia Services of Sierra Vista Inc. vpolnick@jw.com,
                             kgradney@jw.com;dtrevino@jw.com;jpupo@jw.com;JacksonWalkerLLP@jubileebk.net;steso@jw.com

Veronica Ann Polnick
                             on behalf of Debtor Flamingo Anesthesia Associates Inc. vpolnick@jw.com,
                             kgradney@jw.com;dtrevino@jw.com;jpupo@jw.com;JacksonWalkerLLP@jubileebk.net;steso@jw.com

Veronica Ann Polnick
                             on behalf of Debtor FMO Healthcare Holdings LLC vpolnick@jw.com,
                             kgradney@jw.com;dtrevino@jw.com;jpupo@jw.com;JacksonWalkerLLP@jubileebk.net;steso@jw.com

Veronica Ann Polnick
                             on behalf of Debtor FO Investments II Inc. vpolnick@jw.com,
                             kgradney@jw.com;dtrevino@jw.com;jpupo@jw.com;JacksonWalkerLLP@jubileebk.net;steso@jw.com

Veronica Ann Polnick
                             on behalf of Debtor Envision Healthcare Clinical Research Inc. vpolnick@jw.com,
                             kgradney@jw.com;dtrevino@jw.com;jpupo@jw.com;JacksonWalkerLLP@jubileebk.net;steso@jw.com

Veronica Ann Polnick
                             on behalf of Debtor Envision Children's Healthcare Services of North Mississippi Inc. vpolnick@jw.com,
                             kgradney@jw.com;dtrevino@jw.com;jpupo@jw.com;JacksonWalkerLLP@jubileebk.net;steso@jw.com

Veronica Ann Polnick
                             on behalf of Debtor Envision Healthcare Scientific Intelligence Inc. vpolnick@jw.com,
                             kgradney@jw.com;dtrevino@jw.com;jpupo@jw.com;JacksonWalkerLLP@jubileebk.net;steso@jw.com

Veronica Ann Polnick
                             on behalf of Debtor EMSC ServicesCo LLC vpolnick@jw.com,
                             kgradney@jw.com;dtrevino@jw.com;jpupo@jw.com;JacksonWalkerLLP@jubileebk.net;steso@jw.com

Veronica Ann Polnick
                             on behalf of Debtor Envision Anesthesia Services of Delaware Inc. vpolnick@jw.com,
                             kgradney@jw.com;dtrevino@jw.com;jpupo@jw.com;JacksonWalkerLLP@jubileebk.net;steso@jw.com

Victoria Nicole Argeroplos
                             on behalf of Debtor Torrance NSC LLC vargeroplos@jw.com,
                             msalinas@jw.com;kgradney@jw.com;JacksonWalkerLLP@jubileebk.net;dtrevino@jw.com;jpupo@jw.com;steso@jw.com

Victoria Nicole Argeroplos
                             on behalf of Debtor St. Lucie Anesthesia Associates LLC vargeroplos@jw.com,
                             msalinas@jw.com;kgradney@jw.com;JacksonWalkerLLP@jubileebk.net;dtrevino@jw.com;jpupo@jw.com;steso@jw.com

Victoria Nicole Argeroplos
                             on behalf of Debtor Tiva Healthcare Inc. vargeroplos@jw.com,
                             msalinas@jw.com;kgradney@jw.com;JacksonWalkerLLP@jubileebk.net;dtrevino@jw.com;jpupo@jw.com;steso@jw.com

Victoria Nicole Argeroplos
                             on behalf of Debtor Towson NSC LLC vargeroplos@jw.com,
                             msalinas@jw.com;kgradney@jw.com;JacksonWalkerLLP@jubileebk.net;dtrevino@jw.com;jpupo@jw.com;steso@jw.com

Victoria Nicole Argeroplos
                             on behalf of Debtor Sunbeam Asset LLC vargeroplos@jw.com
                             msalinas@jw.com;kgradney@jw.com;JacksonWalkerLLP@jubileebk.net;dtrevino@jw.com;jpupo@jw.com;steso@jw.com

Victoria Nicole Argeroplos
                             on behalf of Debtor Southeast Perinatal Associates Inc. vargeroplos@jw.com,
                             msalinas@jw.com;kgradney@jw.com;JacksonWalkerLLP@jubileebk.net;dtrevino@jw.com;jpupo@jw.com;steso@jw.com

Victoria Nicole Argeroplos
                             on behalf of Debtor Spotlight Holdco LLC vargeroplos@jw.com
                             msalinas@jw.com;kgradney@jw.com;JacksonWalkerLLP@jubileebk.net;dtrevino@jw.com;jpupo@jw.com;steso@jw.com

Victoria Nicole Argeroplos
                             on behalf of Debtor Tampa Bay NSC LLC vargeroplos@jw.com,
                             msalinas@jw.com;kgradney@jw.com;JacksonWalkerLLP@jubileebk.net;dtrevino@jw.com;jpupo@jw.com;steso@jw.com

Victoria Nicole Argeroplos
                             on behalf of Debtor Streamlined Medical Solutions LLC vargeroplos@jw.com
                             msalinas@jw.com;kgradney@jw.com;JacksonWalkerLLP@jubileebk.net;dtrevino@jw.com;jpupo@jw.com;steso@jw.com

Victoria Nicole Argeroplos
                   Case 23-90342 Document 197 Filed in TXSB on 05/18/23 Page 13 of 14
District/off: 0541-4                                      User: ADIuser                                                  Page 12 of 13
Date Rcvd: May 16, 2023                                   Form ID: pdf002                                               Total Noticed: 26
                             on behalf of Debtor Sun Devil Acquisition LLC vargeroplos@jw.com
                             msalinas@jw.com;kgradney@jw.com;JacksonWalkerLLP@jubileebk.net;dtrevino@jw.com;jpupo@jw.com;steso@jw.com

Victoria Nicole Argeroplos
                             on behalf of Debtor Tennessee Valley Neonatology Inc. vargeroplos@jw.com,
                             msalinas@jw.com;kgradney@jw.com;JacksonWalkerLLP@jubileebk.net;dtrevino@jw.com;jpupo@jw.com;steso@jw.com

Victoria Nicole Argeroplos
                             on behalf of Debtor Templeton Readings LLC vargeroplos@jw.com,
                             msalinas@jw.com;kgradney@jw.com;JacksonWalkerLLP@jubileebk.net;dtrevino@jw.com;jpupo@jw.com;steso@jw.com

Victoria Nicole Argeroplos
                             on behalf of Debtor Valley Anesthesiology Consultants Inc. vargeroplos@jw.com,
                             msalinas@jw.com;kgradney@jw.com;JacksonWalkerLLP@jubileebk.net;dtrevino@jw.com;jpupo@jw.com;steso@jw.com

Victoria Nicole Argeroplos
                             on behalf of Debtor Twin Falls NSC LLC vargeroplos@jw.com,
                             msalinas@jw.com;kgradney@jw.com;JacksonWalkerLLP@jubileebk.net;dtrevino@jw.com;jpupo@jw.com;steso@jw.com

Vienna Flores Anaya
                             on behalf of Debtor Anesthesiology Associates of Tallahassee Inc. vanaya@jw.com,
                             kgradney@jw.com;JacksonWalkerLLP@jubileebk.net;jpupo@jw.com;dtrevino@jw.com;azuniga@jw.com;steso@jw.com

Vienna Flores Anaya
                             on behalf of Debtor Anesthesiologists of Greater Orlando Inc. vanaya@jw.com,
                             kgradney@jw.com;JacksonWalkerLLP@jubileebk.net;jpupo@jw.com;dtrevino@jw.com;azuniga@jw.com;steso@jw.com

Vienna Flores Anaya
                             on behalf of Debtor AmSurg Torrance Inc. vanaya@jw.com,
                             kgradney@jw.com;JacksonWalkerLLP@jubileebk.net;jpupo@jw.com;dtrevino@jw.com;azuniga@jw.com;steso@jw.com

Vienna Flores Anaya
                             on behalf of Debtor Bethesda Anesthesia Associates Inc. vanaya@jw.com,
                             kgradney@jw.com;JacksonWalkerLLP@jubileebk.net;jpupo@jw.com;dtrevino@jw.com;azuniga@jw.com;steso@jw.com

Vienna Flores Anaya
                             on behalf of Debtor ASDH II LLC vanaya@jw.com,
                             kgradney@jw.com;JacksonWalkerLLP@jubileebk.net;jpupo@jw.com;dtrevino@jw.com;azuniga@jw.com;steso@jw.com

Vienna Flores Anaya
                             on behalf of Debtor Arizona Perinatal Care Centers LLC vanaya@jw.com,
                             kgradney@jw.com;JacksonWalkerLLP@jubileebk.net;jpupo@jw.com;dtrevino@jw.com;azuniga@jw.com;steso@jw.com

Vienna Flores Anaya
                             on behalf of Debtor Bay Area Anesthesia L.L.C. vanaya@jw.com,
                             kgradney@jw.com;JacksonWalkerLLP@jubileebk.net;jpupo@jw.com;dtrevino@jw.com;azuniga@jw.com;steso@jw.com

Vienna Flores Anaya
                             on behalf of Debtor Envision Healthcare Corporation vanaya@jw.com
                             kgradney@jw.com;JacksonWalkerLLP@jubileebk.net;jpupo@jw.com;dtrevino@jw.com;azuniga@jw.com;steso@jw.com

Vienna Flores Anaya
                             on behalf of Debtor Austin NSC LLC vanaya@jw.com,
                             kgradney@jw.com;JacksonWalkerLLP@jubileebk.net;jpupo@jw.com;dtrevino@jw.com;azuniga@jw.com;steso@jw.com

Vienna Flores Anaya
                             on behalf of Debtor AmSurg San Luis Obispo CA Inc. vanaya@jw.com,
                             kgradney@jw.com;JacksonWalkerLLP@jubileebk.net;jpupo@jw.com;dtrevino@jw.com;azuniga@jw.com;steso@jw.com

Vienna Flores Anaya
                             on behalf of Debtor ASDH I LLC vanaya@jw.com,
                             kgradney@jw.com;JacksonWalkerLLP@jubileebk.net;jpupo@jw.com;dtrevino@jw.com;azuniga@jw.com;steso@jw.com

Vienna Flores Anaya
                             on behalf of Debtor Austin NSC LP vanaya@jw.com,
                             kgradney@jw.com;JacksonWalkerLLP@jubileebk.net;jpupo@jw.com;dtrevino@jw.com;azuniga@jw.com;steso@jw.com

Vienna Flores Anaya
                             on behalf of Debtor AmSurg Temecula II Inc. vanaya@jw.com,
                             kgradney@jw.com;JacksonWalkerLLP@jubileebk.net;jpupo@jw.com;dtrevino@jw.com;azuniga@jw.com;steso@jw.com

Vienna Flores Anaya
                             on behalf of Debtor APH Laboratory Services Inc. vanaya@jw.com,
                             kgradney@jw.com;JacksonWalkerLLP@jubileebk.net;jpupo@jw.com;dtrevino@jw.com;azuniga@jw.com;steso@jw.com

Vienna Flores Anaya
                             on behalf of Debtor BestPractices Inc. vanaya@jw.com,
                             kgradney@jw.com;JacksonWalkerLLP@jubileebk.net;jpupo@jw.com;dtrevino@jw.com;azuniga@jw.com;steso@jw.com

Vienna Flores Anaya
                             on behalf of Debtor Apex Acquisition LLC vanaya@jw.com
                             kgradney@jw.com;JacksonWalkerLLP@jubileebk.net;jpupo@jw.com;dtrevino@jw.com;azuniga@jw.com;steso@jw.com
              Case 23-90342 Document 197 Filed in TXSB on 05/18/23 Page 14 of 14
District/off: 0541-4                    User: ADIuser                          Page 13 of 13
Date Rcvd: May 16, 2023                 Form ID: pdf002                       Total Noticed: 26
TOTAL: 238
